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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


SHIRLEY M. JACKSON and
MAN LEWIS, JR.,

       Plaintiffs,                                 Case No. 18-12883

v.                                                 Hon. Marianne O. Battani

FACEBOOK, MARK ZUCKERBERG, and
CURTIS NESMITH,

       Defendants.

_____________________________________/


                             JUDGMENT OF DISMISSAL

       In accordance with the Court’s opinion and order granting in part Defendants’

motion to dismiss or transfer venue,

       IT IS HEREBY ORDERED that (i) Plaintiffs’ claims against Defendants Facebook

and Mark Zuckerberg are DISMISSED WITHOUT PREJUDICE for lack of personal

jurisdiction, and (ii) Plaintiffs’ claims against Defendant Curtis Nesmith are DISMISSED

WITHOUT PREJUDICE for lack of proper service of process.

       IT IS SO ORDERED.

Date: February 7, 2020                          s/Marianne O. Battani
                                                MARIANNE O. BATTANI
                                                United States District Judge
